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py Gmail Franklin Tao <franklin.tao.2017@gmail.com>
RE: more choices of reactions

1 message

Miranda, Raul <Raul.Miranda@science.doe.gov> Tue, Dec 16, 2014 at 8:37 AM

To: "Tao, Franklin Feng" <franklin.feng.tao@ku.edu>

Dear Franklin,
The need for computation is real for most basic science projects today. | appreciate your initiative.

However, there’s no straightforward mechanism at DOE-BES to fund a researcher abroad. NSF may still have an
agreement with the Chinese Science Academy or a funding agency whereby both co-fund a grant, but DOE-BES does
not have one, except in Nuclear and Fusion Energy programs. It is not legal either to subcontract the university abroad or
to pay a US salary for a non-permanent or visiting scientist at a US university for research to be carried out at a
university abroad.

You may involve Prof. Li as a collaborator -unpaid—and help him secure funding from the Chinese funding agency.
Alternatively, you may find a well-known US collaborator and subcontract him/her.

Thanks,
Raul

From: Tao, Franklin Feng [mailto:franklin.feng.tao@ku.edu]
Sent: Monday, December 15, 2014 6:57 PM

To: Miranda, Raul

Subject: RE: more choices of reactions

Dear Raul,

Along the development of my proposal, | feel a component of computational studies is very important even necessary.
With the computational studies, | can correlate the experimental studies with theoretical analysis for a deeper and better
understanding of catalytic mechanism.

| have collaborate with Prof. Jun Li's group in China for some work, http:/Avww,junlilab.org/index.html . Dr. Jun Li was a
senior scientist at PNNL for many years before he joined Tsinghua University at Beijing due to family issue. Tsinghua
University is the best university of China in terms of science and engineering. He has a prestigious group in China. His
group has performed high profile work in heterogeneous catalysis and other aspects.

One way to involve him is to put him as a collaborator. Alternatively, may | include him as a co-PI? In this way, he can put
one full-time postdoc to solely work on the computational studies of our proposed work. The salary of a postdoc in China
is about $1,300 or less per month; there is no overall. So, a budget for his postdoc is $15,600 or less per year. The total
budget for three year for the side of computation is definitely less than $50,000. My side (the experimental side) will
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propose a budget of $30,000-$35,000 (each year $100,000-$115,000), which can cover the support of a postdoc and one
month of my salary, and some consumable since the fringe here at University of Kansas is lower than many other places.
| hope the total budget of $350,000-$400,000 (covering both experimental and theoretical studies) is still reasonable at
this moment our program is facing the financial issue.

| would be most grateful if you could comment on my suggestion of including Prof. Jun Li as a co-PI (total budget is
$50,000).

| wish you and your family have a very pleasant holiday and a wonder new year.

All the best

Franklin (Feng) Tao

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From: Miranda, Raul [mailto:Raul.Miranda@science.doe.gov]
Sent: Tuesday, December 02, 2014 3:18 PM

To: Tao, Franklin Feng

Subject: RE: more choices of reactions

Franklin,

HP-STM would be welcome by the reviewers, as long as the structures are planned, ie designed with some technique in
order to answer specific mechanistic questions about the chemical pathways being researched (which are the main
goal.) Characterizing surface structures per se should not be the goal of the work in this proposal, although accurate
characterization is the right way to go.

Raul

From: Tao, Franklin Feng [mailto:franklin.feng.tao@ku.edu]
Sent: Tuesday, December 02, 2014 4:11 PM

To: Miranda, Raul

Subject: RE: more choices of reactions
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Raul,

Thank you for your detailed reply. Really appreciate your time! That helps my direction. Absolutely, | would prepare a nice
proposal after having more literature review. So, | choose to submit by Jan 6. | will send you a few new slides.

A quick question is that | have a unique HP-STM for fundamental studies of surface structure of oxide thin film. Could |
include the in-situ studies of surface structure of oxide catalysts with HP-STM as a part of the proposal?

All the best

Franklin (Feng) Tao

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From: Miranda, Raul [mailto:Raul.Miranda@science.doe.gov]
Sent: Tuesday, December 02, 2014 3:00 PM

To: Tao, Franklin Feng

Subject: RE: more choices of reactions

Franklin,

By the way, the December 15 deadline can be relaxed in your case, if you need. I'd rather receive a well-developed
proposal late than a rushed proposal on time. If you need time to further develop your ideas, plan to submit either by
December 19, or if you need more time, by January 6. (Dec 20-Jan 5 is very slow —most of us will be out.)

Raul

From: Miranda, Raul

Sent: Tuesday, December 02, 2014 3:40 PM
To: Tao, Franklin Feng

Subject: RE: more choices of reactions
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Hi Franklin,

| looked some more at your earlier slides and these emails. The earlier slides chemistry is different from the chain growth
proposed below, so it’s unclear that the same catalysts apply to both.

Nevertheless, of the earlier slides, the selective oxidative dehydrogenation of lower alkanes at low temperature is
attractive, as long as basic questions are addressed that haven't yet been extensively dealt with in the literature, and as
long as there are some feasibility studies already made. The other topic (selective hydrogenation) is over-covered in the
catalysis program already. In the emails below, the alkane-olefin metathesis in gas phase is attractive, as long as
feasibility is proven already, and the proposal focuses on fundamental questions that could lead to breakthroughs. There’s
a LOT of work on olefin metathesis, most in organometallic solution phase, some in the gas phase, so the questions must
be novel.

The catalysts that would be attractive are the dispersed oxide ones. There’s already plenty of work on metal catalysts and
less work on oxides.

The question is again feasibility and also whether the structural techniques described apply well to oxides.

The skeleton catalysts you mention are related to the old generation Raney Ni (Co, etc) catalysts, produced by base
leaching AI-Ni (Co, etc) alloys or intermetallics. (See e.g., http://en.wikipedia.org/wiki/Raney_nickel). The counter is the
lack of control over the metal and/or pore structures. For that same reason, answering fundamental questions at the
atomic/molecular level with techniques developed for ordered structured metals is challenging. General questions such as
yields, selectivities, resistance to coking, etc, although important, are less important for BES funding. So | strongly
suspect you may receive such criticisms. Dispersed metal oxides are attractive but the skeleton matrix may not be
satisfactory to reviewers as the pore dendritic structures are quite irreproducible. One could dedicate a full study, mainly
synthetic and also analytical/computational, to develop this area but such would detract from the main goal of your work.
The basic questions of site-level chemistry (at oxide crystalline planes,edges,vacancies, inter-oxide interfaces, etc) must
be tackled, so that the control of reaction mechanisms can be achieved by design.

Other Pls have resorted to molecularly-controllable methods for the multiple oxide or encapsulated oxide synthesis: ALD,
sol-gel, dendrimer-template, etc. Matrices are usually the regular networks like zeolites, SBA, etc. There’s a limited set of
techniques, hence it has become quite repetitive, and it would be nice to find other means to reproducible complex
nanostructures. The field is moving more towards predictable nanostructures of uniform dimensions, rather than statistical
distributions of channels and nanocrystals.

So, those are my first impressions. | wouldn’t want to direct your research of course — not my job nor my capability.

Reviewers will have the final say.

Best regards,

Raul

From: Tao, Franklin Feng [mailto:franklin.feng.tao@ku.edu]
Sent: Monday, December 01, 2014 3:55 PM

To: Miranda, Raul

Subject: more choices of reactions
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Hi, Raul,

Good afternoon.

As the shale gas-based supplies to energy and chemical industries will be lack of higher alkanes
and olefins (petroleum-based chemical industries have a lot of higher alkanes and olefins), | would
develop catalysis and catalysts to make higher alkanes and olefins by from propane (one of the
components of shale gas).

There are two reactions | would propose to make higher alkanes and olefins
(1) co-feed olefins to make higher olefins

(2) methane olefin metathesis

All the best

Franklin (Feng) Tao

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